Filed 8/26/24 P. v. Ramirez CA2/8
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                      DIVISION EIGHT


 THE PEOPLE,                                                   B331677

           Plaintiff and Respondent,                           Los Angeles County
                                                               Super. Ct. No. BA376981
           v.

 MANUEL JUNIOR RAMIREZ,

           Defendant and Appellant.


      APPEAL from a post judgment order of the Superior Court
of Los Angeles County, George G. Lomeli, Judge. Reversed.
      Athena Shudde, under appointment by the Court of Appeal,
for Defendant and Appellant.
      Rob Bonta, Attorney General, Lance E. Winters, Chief
Assistant Attorney General, Susan Sullivan Pithey, Senior
Assistant Attorney General, Amanda V. Lopez and Gary A.
Lieberman, Deputy Attorneys General, for Plaintiff and
Respondent.
                     ____________________
       Manuel Junior Ramirez appeals the trial court’s denial of
his petition for resentencing. Ramirez argues the trial court
erred in denying his petition on the grounds that Ramirez was
“the actual and known shooter,” when there was no factual basis
for his plea in the record. The prosecutor concedes the trial court
engaged in improper factfinding. We agree. Because the record
does not conclusively establish that Ramirez is ineligible for
resentencing, we reverse the trial court’s denial and remand for
an evidentiary hearing. Statutory citations are to the Penal
Code.
       In 2015, Ramirez pleaded no contest to attempted murder
in violation of sections 664 and 187(a). He also admitted to
violating section 12022.53(d) by personally using a firearm, and
that he committed the crime for the benefit of, at the direction of,
or in association with a criminal street gang, with the specific
intent to promote, further, or assist in criminal conduct by its
members, under section 186.22(b)(1)(c). Ramirez, through
counsel, also stipulated to “a factual basis” for his plea.
       The court sentenced Ramirez to 29 years in prison.
       Ramirez filed a petition for resentencing under section
1170.95 (now section 1172.6). Section 1172.6 provides the
mechanism by which defendants may seek the relief offered by
Senate Bill 1437, effective January 1, 2019 (2017-2018 Reg. Sess.)
(SB 1437.) (§ 1172.6, subd. (a).) SB 1437 “amend[s] the felony
murder rule and the natural and probable consequences doctrine,
as it relates to murder, to ensure that murder liability is not
imposed on a person who is not the actual killer, did not act with
intent to kill, or was not a major participant in the underlying
felony who acted with reckless indifference to human life.”
(Stats. 2018, ch. 1015, § 1, subd. (f).) Under Senate Bill 775




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(2021-2022 Reg. Sess.), effective January 1, 2022, defendants
convicted of attempted murder under the natural and probable
consequences doctrine are also eligible for SB 1437 resentencing
relief.
        Ramirez’s petition was facially sufficient, and the court
appointed counsel to represent him.
        At the prima facie hearing, the court stated Ramirez had
previously entered a plea admitting to “willful, deliberate, and
premeditated attempted murder,” and made the finding that
Ramirez “was the actual and lone shooter who wounded the
underlying victim by shooting at him from a vehicle.” The court
found Ramirez ineligible for relief as a matter of law, and entered
an order denying Ramirez’s petition.
        On appeal, Ramirez argues the court erred in denying his
petition because it improperly engaged in factfinding at the
prima facie stage. He points us to the transcript of his plea
hearing, which we italicize for emphasis, at which he pleaded “no
contest” to “attempted murder, not willful, deliberate, and
premeditated, but just attempted murder.” The trial court erred
when it found that Ramirez had admitted to “willful, deliberate,
and premeditated attempted murder.”
        The prosecutor agrees with Ramirez, observing that there
is no preliminary hearing transcript, and that Ramirez did not
make any admissions or statements about the nature of the
attempted murder while entering his plea. It is thus immaterial
that Ramirez agreed to “a factual basis” for his plea, because
there are no facts in the record from which the court could
evaluate his eligibility for resentencing relief. (See People v.
Strong (2022) 13 Cal.5th 698, 708 [trial court may only deny a
resentencing petition at the prima facie stage if the record of




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conviction conclusively shows the petitioner is ineligible for
relief.])
       Notwithstanding the parties’ agreement that the trial court
erred, we reverse the trial court’s decision only if it is reasonably
probable the petitioner would have obtained a more favorable
outcome had the error not occurred. (See People v. Lewis (2021)
11 Cal.5th 952, 972-74.) In Ramirez’s case, the trial court’s error
was prejudicial. Ramirez made a prima facie showing of
eligibility, and the record of conviction does not conclusively
refute his eligibility for relief. Thus, the court should have issued
an order to show cause and held an evidentiary hearing.
(§ 1172.6, subd. (c).)
                            DISPOSITION
       We reverse the order denying Ramirez’s petition for
resentencing. We remand to the trial court for an evidentiary
hearing pursuant to section 1172.6, subdivision (d).




                                            WILEY, J.

We concur:



             STRATTON, P. J.




             GRIMES, J.




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